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(2) a provision to permit the shareholders of Global Brokerage to nominate at least
three candidates for election to the Board; and

(3) a proposal to ensure the establishment of effective oversight of compliance with
applicable laws, rules, and regulations;

D. Determining and awarding to Global Brokerage exemplary damages in an amount
necessary to punish defendants and to make an example of defendants to the community according
to proof at trial;

E. Awarding Global Brokerage restitution from defendants, and each of them;

F, Awarding Plaintiff the costs and disbursements of this action, including reasonable
attorneys’ and experts’ fees, costs, and expenses; and

G. Granting such other and further equitable relief as this Court may deem just and
proper.

DEMAND FOR TRIAL BY JURY

Plaintiff hereby demands a trial by jury.

Dated: March 21, 2017 Respectfully submitted,

LIFSHITZ & MILLER
cE

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VERIFICATION

I, Jonathan Raul hereby declare as follows:

I am shareholder of Fxcm and have continuously so owned the Company’s common stock
during the relevant period. I declare that I am the plaintiff named in the foregoing Shareholder
Derivative Complaint (“Complaint”), and know the content thereof; that the pleading is true to
my knowledge, except as to those matters stated on information and belief, and that as to such
matters I believe to be true. I declare under penalty of perjury that the foregoing is true and

correct.

Executed on 03/21/2017
